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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

  Nicole Nabors aka Nicole Epting, individually and
  on behalf of all others similarly situated,                             Civil Action No:
                                              Plaintiff,
                                                                           CLASS ACTION COMPLAINT

                                                                            DEMAND FOR JURY TRIAL




            -v.-

  Enhanced Recovery
  Company, LLC, and John
  Does 1-25.
                                          Defendant(s).


       Plaintiff Nicole Nabors aka Nicole Epting ("Plaintiff") a Illinois resident, brings this Class

Action Complaint by and through her attorneys, Stein Saks PLLC against Defendant Enhanced

Recovery Company, LLC. (hereinafter “ERC”) individually and on behalf of a class of all others

similarly situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure, based upon

information and belief of Plaintiff’s counsel, except for allegations specifically pertaining to

Plaintiff, which are based upon Plaintiff's personal knowledge.



                         INTRODUCTION/PRELIMINARY STATEMENT

       1.          Congress enacted the Fair Debt Collection Practices Act (the “FDCPA”) in 1977 in

   response to the “abundant evidence of the use of abusive, deceptive, and unfair debt collection

   practices by many debt collectors.” 15 U.S.C. §1692(a). At that time, Congress was concerned

   that “abusive debt collection practices contribute to the number of personal bankruptcies, to

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material instability, to the loss of jobs, and to invasions of individual privacy.” Id. Congress

concluded that “existing laws…[we]re inadequate to protect consumers,” and that “‘the effective

collection of debts’ does not require ‘misrepresentation or other abusive debt collection

practices.’” 15 U.S.C. §§ 1692(b) & (c).

   2.      Congress explained that the purpose of the Act was not only to eliminate abusive

debt collection practices, but also to “insure that those debt collectors who refrain from using

abusive debt collection practices are not competitively disadvantaged.” Id. § 1692(e). “After

determining that the existing consumer protection laws ·were inadequate.” Id. § l692(b),

Congress gave consumers a private cause of action against debt collectors who fail to comply

with the Act. Id. § 1692k.

                               JURISDICTION AND VENUE

   3.      The Court has jurisdiction over this class action pursuant to 15 U.S.C. § 1692 et. seq.

and 28 U.S.C. § 2201. The Court has pendent jurisdiction over the State law claims in this action

pursuant to 28 U.S.C. § 1367(a).

   4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

where the Plaintiff resides as well as where a substantial part of the events or omissions giving

rise to this claim occurred.

                               NATURE OF THE ACTION

   5.      Plaintiff brings this class action on behalf of a class of Illinois consumers under

§1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

Collections Practices Act (“FDCPA”), and

   6.      Plaintiff is seeking damages and declaratory relief.
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                                          PARTIES

   7.      Plaintiff is a resident of the State of Illinois, County of Will, with

an address of 460 S Desplaines St, Joliet, IL 60436.

   8.      Defendant ERC is a "debt collector" as the phrase is defined in 15 U.S.C.

§ 1692(a)(6) and used in the FDCPA with an address at 8014 Bayberry Road, Jacksonville, FL

32256-7412.

   9.      Upon information and belief, Defendant ERC is a company that uses the mail,

telephone, and facsimile and regularly engages in business the principal purpose of which is to

attempt to collect debts alleged to be due another.

   10.     John Does l-25, are fictitious names of individuals and businesses alleged for the

purpose of substituting names of Defendants whose identities will be disclosed in discovery and

should be made parties to this action.



                                  CLASS ALLEGATIONS

   11.     Plaintiff brings this claim on behalf of the following class, pursuant to Fed. R. Civ.

P. 23(a) and 23(b)(3).

   12.     The Class consists of:

           a. all individuals with addresses in the State of Illinois;

           b.   to whom Defendant ERC sent a collection letter attempting to collect a consumer

                debt;

           c. containing deceptively worded settlement offers;

           d. which letter was sent on or after a date one (1) year prior to the filing of this

                action and on or before a date twenty-one (2l) days after the filing of this action.
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   13.      The identities of all class members are readily ascertainable from the records of

Defendants and those companies and entities on whose behalf they attempt to collect and/or

have purchased debts.

   14.      Excluded from the Plaintiff Class are the Defendants and all officer, members,

partners, managers, directors and employees of the Defendants and their respective immediate

families, and legal counsel for all parties to this action, and all members of their immediate

families.

   15.      There are questions of law and fact common to the Plaintiff Class, which common

issues predominate over any issues involving only individual class members. The principal issue

is whether the Defendants' written communications to consumers, in the forms attached as

Exhibit A, violate 15 U.S.C. §§ l692e.

   16.      The Plaintiff’s claims are typical of the class members, as all are based upon the same

facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the

Plaintiff Class defined in this complaint. The Plaintiff has retained counsel with experience in

handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff

nor her attorneys have any interests, which might cause them not to vigorously pursue this

action.

   17.      This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

well-defined community interest in the litigation:

            a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

               that the Plaintiff Class defined above is so numerous that joinder of all members

               would be impractical.
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          b. Common Questions Predominate: Common questions of law and fact exist as

              to all members of the Plaintiff Class and those questions predominance over any

              questions or issues involving only individual class members. The principal issue

              is whether the Defendants’ written communications to consumers, in the forms

              attached as Exhibit A violate 15 USC §l692e.

          c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

              The Plaintiffs and all members of the Plaintiff Class have claims arising out of

              the Defendants' common uniform course of conduct complained of herein.

          d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

              class members insofar as Plaintiff have no interests that are adverse to the absent

              class members. The Plaintiff is committed to vigorously litigating this matter.

              Plaintiff has also retained counsel experienced in handling consumer lawsuits,

              complex legal issues, and class actions. Neither the Plaintiff nor her counsel have

              any interests which might cause them not to vigorously pursue the instant class

              action lawsuit.

          e. Superiority: A class action is superior to the other available means for the fair

              and efficient adjudication of this controversy because individual joinder of all

              members would be impracticable. Class action treatment will permit a large

              number of similarly situated persons to prosecute their common claims in a single

              forum efficiently and without unnecessary duplication of effort and expense that

              individual actions would engender.

   18.    Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

is also appropriate in that the questions of law and fact common to members of the Plaintiff
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Class predominate over any questions affecting an individual member, and a class action is

superior to other available methods for the fair and efficient adjudication of the controversy.

   19.     Depending on the outcome of further investigation and discovery, Plaintiff may, at

the time of class certification motion, seek to certify a class(es) only as to particular issues

pursuant to Fed. R. Civ. P. 23(c)(4).



                               FACTUAL ALLEGATIONS

   20.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered above herein with the same force and effect as if the same were set forth at length

herein.

   21.     Some time prior to December 31, 2020, an obligation was allegedly incurred to

Sprint, subsidiary of T-Mobile by the Plaintiff.

   22.     The Sprint, subsidiary of T-Mobile obligation arose out of transactions in which

money, property, insurance or services which are the subject of the transactions were primarily

for personal, family or household purposes, specifically telecommunication services.

   23.     The alleged Sprint, subsidiary of T-Mobile obligation is a “debt” as defined by 15

U.S.C. §1692a(5).

   24.     Sprint, subsidiary of T-Mobile is a “creditor” as defined by 15 U.S.C. §1692a(4).

   25.     Defendant ERC, a debt collector, was contracted by Sprint, subsidiary of T-Mobile

to collect the alleged debt which originated with Sprint, subsidiary of T-Mobile.

   26.     Defendants collect and attempt to collect debts incurred or alleged to have been

incurred for personal, family or household purposes on behalf of creditors using the United

States Postal Services, telephone and internet.
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                       Violation I – December 31, 2020 Collection Letter

   27.     On or about December 31, 2021, Defendant ERC sent Plaintiff a collection letter (the

“Letter”) regarding the alleged debt currently owed to T-Mobile See Exhibit A.

   28.     The letter states an original balance of $441.38

   29.     The collection letter states: “Our records indicate that your balance with Sprint, now

part of the T-Mobile Network, remains unpaid; therefore, your account has been placed with

ERC for collection efforts. We are authorized to settle your account for less than the full original

balance in the amount of $220.69. Upon completion of the settlement agreement, all future

collection efforts will cease, and the residual balance will remain with Sprint.”

   30.     The letter is deceptive because it implies that in exchange for payment of less than

the full balance the consumer will achieve some form of settlement, when in actuality it is

unclear what form of settlement the letter is offering.

   31.     This is especially deceptive because the letter actually uses the term “settlement

agreement.”

   32.     The letter states that Sprint will cease all collection activity but does not clarify what

will occur with the rest of the balance and whether the rest of the balance would be collected by

another collection company in the future.

   33.     Nor does the letter clearly state that the account will be reinstated upon payment of

part of the balance.

   34.     The letter deceives and misleads the consumer by implying that paying “the

settlement” amount would achieve results akin to a settlement offer, when in reality the
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Defendant’s offer contains no significant benefits and is unclear to what the benefits of the

“settlement agreement” would actually be.

    35.     As a result of Defendant’s deceptive, misleading and false debt collection practices,

Plaintiff has been damaged.

                               COUNT I
       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                         15 U.S.C. §1692e et seq.

    36.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

above herein with the same force and effect as if the same were set forth at length herein.

    37.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

    38.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

misleading representation or means in connection with the collection of any debt.

    39.     Defendant violated said section by:

            a. Making a false and misleading representation in violation of but not limited to

                §1692e (10).

    40.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

conduct violated Section 1692e, et seq. of the FDCPA and is entitled to actual damages, statutory

damages, costs and attorneys’ fees.




                                   DEMAND FOR TRIAL BY JURY

    41.      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

a trial by jury on all issues so triable.
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                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff Nicole Nabors aka Nicole Epting , individually and on behalf of all

others similarly situated, demands judgment from Defendant ERC, as follows:



       1.      Declaring that this action is properly maintainable as a Class Action and certifying

   Plaintiff as Class representative, and Raphael Deutsch, Esq. as Class Counsel;

       2.      Awarding Plaintiff and the Class statutory damages;

       3.      Awarding Plaintiff and the Class actual damages;

       4.      Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

   expenses;

       5.      Awarding pre-judgment interest and post-judgment interest; and

       6.      Awarding Plaintiff and the Class such other and further relief as this Court may deem

   just and proper.


DATED, this 25th day of December, 2020

                                                            /s/Raphael Deutsch
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